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               EXHIBIT 2
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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 08-80736-CIV-MARRA/JOHNSON

    JANE DOE #1 AND JANE DOE #2,

                 Petitioners,

    vs.

    UNITED STATES,

             Respondent.
    _______________________________/

                                 UNITED STATES’ SEALED MOTION TO DISMISS
                                 FOR LACK OF SUBJECT MATTER JURISDICTION

              The United States hereby requests that this Court enter an order dismissing these

    proceedings and the Petition for Enforcement of Crime Victim’s Rights Act, 18 U.S.C. Section

    3771 (DE 1, the “Petition”), through which Petitioners Jane Doe #1 and Jane Doe #2 have

    advanced claims pursuant to the Crime Victims’ Rights Act (“CVRA”), for lack of subject

    matter jurisdiction.1       This Court lacks subject matter jurisdiction over the Petition because


          1
            See, e.g., Grupo Dataflux v. Atlas Global Group, L.P., 541 U.S. 567, 571 (2004)
    (“Challenges to subject-matter jurisdiction can of course be raised at any time prior to final
    judgment.”); United States v. Giraldo-Prado, 150 F.3d 1328, 1329 (11th Cir. 1998) (recognizing
    that “a party may raise jurisdiction at any time during the pendency of the proceedings”); Harrell
    & Sumner Contracting Co. v. Peabody Petersen Co., 546 F.2d 1227, 1229 (5th Cir. 1977)
    (“[U]nder Rule 12(h)(3), Fed.R.Civ.P., the defense of lack of subject matter jurisdiction may be
    raised at any time by motion of a party or otherwise.”); see also Fed. R. Civ. P. 12(h)(3). In the
    present motion, the United States seeks dismissal of Petitioners’ claims based on both a legal and
    factual challenge to the Court’s subject matter jurisdiction. This Court may properly consider
    and weigh evidence beyond Petitioners’ allegations when evaluating such a challenge to the
    Court’s subject matter jurisdiction:
              Factual attacks [on a Court’s subject matter jurisdiction] . . . “challenge subject
              matter jurisdiction in fact, irrespective of the pleadings.” In resolving a factual
              attack, the district court “may consider extrinsic evidence such as testimony and
              affidavits.” Since such a motion implicates the fundamental question of a trial
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    Petitioners lack Article III standing and because the claims raised by Petitioners in these

    proceedings are not constitutionally ripe.

    I.       The Claims Raised in the Petition Must Be Dismissed for Lack of Subject
             Matter Jurisdiction Because the Petitioners Lack Standing to Bring Those Claims.

             These proceedings pursuant to the CVRA must be dismissed for lack of subject matter

    jurisdiction because Petitioners lack standing to pursue the remedies that they are seeking for

    alleged CVRA violations. As the Supreme Court has explained,

             to satisfy Article III’s standing requirements, a plaintiff must show (1) it has
             suffered an “injury in fact” that is (a) concrete and particularized and (b) actual or
             imminent, not conjectural or hypothetical; (2) the injury is fairly traceable to the
             challenged action of the defendant; and (3) it is likely, as opposed to merely
             speculative, that the injury will be redressed by a favorable decision.

    Friends of the Earth, Inc. v. Laidlaw Environmental Services (TOC), Inc., 528 U.S. 167, 180-81

    (2000); see also, e.g., Young Apartments, Inc. v. Town of Jupiter, 529 F.3d 1027, 1038 (11th Cir.

    2008) (quoting Harris v. Evans, 20 F.3d 1118, 1121 (11th Cir. 1994) (en banc)). Moreover, “a

    plaintiff must demonstrate standing separately for each form of relief sought.” Friends of the

    Earth, 528 U.S. at 185.

             Here, the record incontrovertibly demonstrates that Petitioners cannot satisfy the third

    prong of the standing test, and the Petition and these proceedings must accordingly be dismissed

    for lack of subject matter jurisdiction.2 E.g., Florida Wildlife Federation, Inc. v. South Florida


             court’s jurisdiction, a “trial court is free to weigh the evidence and satisfy itself as
             to the existence of its power to hear the case” without presuming the truthfulness
             of the plaintiff’s allegations.
    Makro Capital of America, Inc. v. UBS AG, 543 F.3d 1254, 1258 (11th Cir. 2008) (citations
    omitted); see also, e.g., McMaster v. United States, 177 F.3d 936, 940 (11th Cir. 1999) (“[W]e
    determine whether this lawsuit survives the government’s factual attack [on subject matter
    jurisdiction] by looking to matters outside the pleadings, and we do not accord any presumptive
    truthfulness to the allegations in the complaint.”); Scarfo v. Ginsberg, 175 F.3d 957, 960-61
    (11th Cir. 1999).
         2
             Although Petitioners also fail to satisfy the first and second prongs of the standing test,
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    Water Management Dist., 647 F.3d 1296, 1302 (11th Cir. 2011) (“If at any point in the litigation

    the plaintiff ceases to meet all three requirements for constitutional standing, the case no longer

    presents a live case or controversy, and the federal court must dismiss the case for lack of subject

    matter jurisdiction.”); Phoenix of Broward, Inc. v. McDonald’s Corp., 489 F.3d 1156, 1161 (11th

    Cir. 2007) (“[T]he issue of constitutional standing is jurisdictional . . . .”); National Parks

    Conservation Ass’n v. Norton, 324 F.3d 1229, 1242 (11th Cir. 2003) (“[B]ecause the

    constitutional standing doctrine stems directly from Article III’s ‘case or controversy’

    requirement, this issue implicates our subject matter jurisdiction, and accordingly must be

    addressed as a threshold matter regardless of whether it is raised by the parties.”) (citation

    omitted).

            In these proceedings, the only identified legal relief that Petitioners have sought pursuant

    to the CVRA is the setting aside of the Non-Prosecution Agreement that was entered into

    between Jeffrey Epstein and the U.S. Attorney’s Office for the Southern District of Florida

    (“USAO-SDFL”). See, e.g., DE 99 at 6 (recognizing that the relief Petitioners seek “is to

    invalidate the non-prosecution agreement”). But even assuming arguendo that Petitioners’ rights

    under the CVRA were violated when Epstein and the USAO-SDFL entered into the Non-

    Prosecution Agreement, constitutional due process guarantees do not allow either the Non-

    Prosecution Agreement – which by its terms induced Epstein to, inter alia, plead guilty to state

    criminal charges and serve an 18-month sentence of state incarceration3 – or the governmental



    this Court need not reach or address those issues because an analysis of the third prong of the
    standing test incontrovertibly establishes the Petitioners’ lack of standing. Nonetheless, the
    circumstances which demonstrate Petitioners’ lack of a concrete injury traceable to government
    conduct are explored infra in Section II of this memorandum, which addresses how Petitioners’
    claims and these proceedings lack constitutional ripeness.
        3
            See also July 11, 2008 Hr’g Tr. at 20-21 (Petitioners’ acknowledgement that Epstein’s
    reliance on promises in Non-Prosecution Agreement led to his guilty plea to state charges and his
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    obligations undertaken therein to be set aside.4 See, e.g., Santobello v. New York, 404 U.S. 257,

    262 (1971) (“[W]hen a plea rests in any significant degree on a promise or agreement of the

    prosecutor, so that it can be said to be part of the inducement or consideration, such promise

    must be fulfilled.”); United States v. Harvey, 869 F.2d 1439, 1443 (11th Cir. 1989) (“Due

    process requires the government to adhere to the terms of any plea bargain or immunity

    agreement it makes.”).     Indeed, even if this Court were somehow to set aside the Non-

    Prosecution Agreement on the authority of the CVRA, and even if after consultation with

    Petitioners the United States determined that it would be proper and desirable to institute a

    criminal prosecution in the Southern District of Florida against Epstein on the criminal charges

    contemplated in the Non-Prosecution Agreement, the United States would still be

    constitutionally required to adhere to the negotiated terms of the Non-Prosecution Agreement.

    See, e.g., Santobello, 404 U.S. at 262; Harvey, 869 F.2d at 1443.

            Due process considerations further bar this Court from setting aside a non-prosecution

    agreement that grants contractual rights to a contracting party (Epstein) who has not been made a

    party to the proceedings before the Court. See, e.g., School Dist. of City of Pontiac v. Secretary

    of U.S. Dept. of Educ., 584 F.3d 253, 303 (6th Cir. 2009) (“It is hornbook law that all parties to a

    contract are necessary in an action challenging its validity . . . .”); Dawavendewa v. Salt River

    Project Agr. Imp. & Power Dist., 276 F.3d 1150, 1157 (9th Cir. 2002) (“[A] party to a contract is

    necessary, and if not susceptible to joinder, indispensable to litigation seeking to decimate that


    subsequent 18-month state incarceration).
        4
           To the extent that the Petitioners’ requested invalidation of the Non-Prosecution
    Agreement would implicitly reject and nullify the correctness of both the state court’s acceptance
    of Epstein’s guilty plea and the resulting judgment of conviction –which were induced in part by
    the Non-Prosecution Agreement – such judicial action might raise additional questions about this
    Court’s jurisdiction under the Rooker/Feldman doctrine. See, e.g., Casale v. Tillman, 558 F.3d
    1258, 1260-61 (11th Cir. 2009); Powell v. Powell, 80 F.3d 464, 466-68 (11th Cir. 1996).

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    contract.”); Lomayaktewa v. Hathaway, 520 F.2d 1324, 1325 (9th Cir. 1975) (“No procedural

    principle is more deeply imbedded in the common law than that, in an action to set aside a lease

    or a contract, all parties who may be affected by the determination of the action are

    indispensable.”); see also National Licorice Co. v. NLRB, 309 U.S. 350, 362 (1940) (“It is

    elementary that it is not within the power of any tribunal to make a binding adjudication of the

    rights in personam of parties not brought before it by due process of law.”).5

            Additionally, a “favorable ruling” from this Court will not provide Petitioners with

    anything for the alleged CVRA violations that is not already available to them. For the due

    process reasons already discussed above, the United States must legally abide by the terms of the

    Non-Prosecution Agreement even if this Court should somehow set the agreement aside for

    Petitioners to consult further with the government attorney handling the case. Moreover, as will

    be explained in greater detail below, see infra at 8-12, Petitioners already have the present ability

    to confer with an attorney for the government about a federal criminal case against Epstein –

    whether or not the Non-Prosecution Agreement is set aside – because the investigation and

    potential federal prosecution of Epstein for crimes committed against the Petitioners and others

    remains a legally viable possibility.6

            The present proceedings under the CVRA must accordingly be dismissed for lack of

    standing because Petitioners simply have no injury that is likely to be redressed by a favorable

    ruling in these proceedings. See, e.g., Scott v. Taylor, 470 F.3d 1014, 1018 (11th Cir. 2006)

    (holding that there was no standing where it was speculative that remedy that Plaintiff sought
        5
            Significantly, it is Epstein’s contractual rights under the non-prosecution agreement that
    Petitioners seek to void through these proceedings.
        6
            Petitioners’ present, as well as past, ability to confer with an attorney for the government
    also demonstrates that Petitioners fail to satisfy the first two prongs of the standing test:
    Petitioners have simply not suffered a concrete injury that is fairly traceable to the challenged
    government conduct.

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    would redress claimed injury).

    II.    The Claims Raised in the Petition Are Not Constitutionally Ripe, and These
           Proceedings Must Thus Be Dismissed for Lack of Subject Matter Jurisdiction.

           This Court must also dismiss these proceedings for lack of subject matter jurisdiction

    because the Petitioners’ claims are not constitutionally ripe.

           Ripeness, like standing, “originate[s] from the Constitution’s Article III requirement that

    the jurisdiction of the federal courts be limited to actual cases and controversies.” Elend v.

    Basham, 471 F.3d 1199, 1204-05 (11th Cir. 2006). “‘The ripeness doctrine keeps federal courts

    from deciding cases prematurely,’ Beaulieu v. City of Alabaster, 454 F.3d 1219, 1227 (11th Cir.

    2006), and ‘protects [them] from engaging in speculation or wasting their resources through the

    review of potential or abstract disputes,’ Digital Props., Inc. v. City of Plantation, 121 F.3d 586,

    589 (11th Cir.1997).” United States v. Rivera, 613 F.3d 1046, 1050 (11th Cir. 2010); see also

    Pittman v. Cole, 267 F.3d 1269, 1278 (11th Cir. 2001) (“‘The ripeness doctrine prevent[s] the

    courts, through avoidance of premature adjudication, from entangling themselves in abstract

    disagreements . . . .’”) (quoting Coalition for the Abolition of Marijuana Prohibition v. City of

    Atlanta, 219 F.3d 1301, 1315 (11th Cir. 2000) (citations and quotations omitted))). Under the

    ripeness doctrine, a court must therefore determine “‘whether there is sufficient injury to meet

    Article III’s requirement of a case or controversy and, if so, whether the claim is sufficiently

    mature, and the issues sufficiently defined and concrete, to permit effective decisionmaking by

    the court.’” In re Jacks, 642 F.3d 1323, 1332 (11th Cir. 2011) (quoting Cheffer v. Reno, 55 F.3d

    1517, 1524 (11th Cir. 1995)).

           When evaluating whether a claim is ripe, a court considers: “‘(1) the fitness of the issues

    for judicial decision, and (2) the hardship to the parties of withholding court consideration.’” Id.

    (quoting Cheffer, 55 F.3d at 1524 (citing Abbott Labs. v. Gardner, 387 U.S. 136, 149 (1967)));

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    see also, e.g., Association For Children for Enforcement of Support, Inc. v. Conger, 899 F.2d

    1164, 1165 (11th Cir. 1990). Under the doctrine, “[a] claim is not ripe when it is based on

    speculative possibilities,” In re Jacks, 642 F.3d 1323, 1332 (11th Cir. 2011), such as if the claim

    “‘rests upon contingent future events that may not occur as anticipated, or indeed may not occur

    at all,’” Atlanta Gas Light Co. v. FERC, 140 F.3d 1392, 1404 (11th Cir. 1998) (quoting Texas v.

    United States, 523U.S. 296, 300 (1998)). Indeed, “[t]he ripeness doctrine is designed to prevent

    federal courts from engaging in such speculation and prematurely and perhaps unnecessarily

    reaching constitutional issues.” Pittman, 267 F.3d at 1280.

           In these proceedings, the Petitioners have sought to set aside the Non-Prosecution

    Agreement between Epstein and the USAO-SDFL so that Petitioners can “confer with the

    attorney for the Government” about the possible filing of federal criminal charges against

    Epstein and the potential disposition of any such charges. See, e.g., July 11, 2008 Hr’g Tr. at 6-7

    (seeking an “[o]rder that the [non-prosecution] agreement that was negotiated is invalid” so that

    Petitioners can exercise the right to confer with the government); id. at 19-20, 24; 18 U.S.C.

    § 3771(a)(5); see also DE 1 at 2 ¶ 5 (claiming that Petitioner was “denied her rights” under the

    CVRA because she “received no consultation with the attorney for the government regarding the

    possible disposition of the charges”).

           Notwithstanding the Non-Prosecution Agreement, Petitioners are and have been free to

    confer with attorneys for the government about the investigation and potential prosecution of

    Epstein. At least one attorney for the government (Assistant United States Attorney Villafaña

    from the USAO-SDFL) had spoken to Petitioners about the offenses committed against them by

    Epstein prior to the signing of the Non-Prosecution Agreement, see, e.g., July 11, 2008 Hr’g Tr.

    at 22 (acknowledging that prosecutors spoke to Petitioners “about what happened” to them); DE



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    48 at 6 ¶ 8; see also DE 99 at 3, and government attorneys have on multiple occasions offered to

    confer with Petitioners, see, e.g., July 11, 2008 Hr’g Tr. at 13 (“I will always confer, sit down

    with Jane Doe 1 and 2, with the two agents and Ms. Villafana. We’ll be happy to sit down with

    them.”). Indeed, on December 10, 2010, the United States Attorney for the Southern District of

    Florida, accompanied by supervisory and line prosecutors from the USAO-SDFL, personally

    conferred with Petitioners’ counsel and with Petitioner Jane Doe #1 and entertained discussion

    about Petitioners’ desires to see Epstein criminally prosecuted on federal charges.7 The United

    States Attorney and prosecutors in the USAO-SDFL have also corresponded with Petitioners’

    counsel on multiple occasions about Petitioners’ desires to have Epstein criminally prosecuted on

    federal charges.8

            Additionally,

                  a number of districts outside the Southern District of Florida (e.g., the Southern

    District of New York and the District of New Jersey) share jurisdiction and venue with the

    Southern District of Florida over potential federal criminal charges based on the alleged sexual

    acts committed by Epstein against the Petitioners.         Epstein is thus subject to potential

    prosecution for such acts in those districts. Furthermore, because of the nature of the allegations

    against Epstein, the filing of such potential charges against Epstein still remains temporally

    viable; charges for such sexual activities involving minors are not barred by the applicable


        7
           The United States Attorney also offered to confer with Jane Doe #2, but Jane Doe #2
    declined the invitation and did not attend the meeting that was scheduled with the United States
    Attorney.
        8
           Since that time, the USAO-SDFL has been recused by the Department of Justice from
    prospective responsibility for any criminal investigation or potential prosecution relating to
    Epstein’s alleged sexual activities with minor females. The Department of Justice has reassigned
    responsibility for the investigation and potential prosecution of such criminal matters in the
    Southern District of Florida to the United States Attorney’s Office for the Middle District of
    Florida for consideration of any prosecutorial action that may be authorized and appropriate.

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   statutes of limitations. See 18 U.S.C. §§ 3283, 3299. Petitioners are free to contact the United

   States Attorney’s Office in those districts and seek to confer with government attorneys in those

   offices about investigating and potentially prosecuting Epstein based on the alleged federal

   crimes committed against them.9

           Petitioners nonetheless have appeared to contend throughout these proceedings that the

   many opportunities that they have been given to consult with the attorneys for the government

   about Epstein’s offenses and the potential charges against Epstein – opportunities which continue

   to be available to Petitioners – are not meaningful under the CVRA due to the existence of the

   Non-Prosecution Agreement. According to Petitioners, the Non-Prosecution Agreement has

   given Epstein a “free pass” on federal criminal charges for the offenses he committed against

   Petitioners and others. See, e.g., DE 9 at 15 (characterizing Non-Prosecution Agreement as “a

   ‘free pass’ from the federal government”), 2 (contending that the Non-Prosecution Agreement

   “allowed [Epstein] . . . to escape all federal prosecution for dozens of serious federal sex offenses

   against minors”), 7 (“the wealthy defendant has escaped all federal punishment”), 12 (“[T]he

   agreement prevents federal prosecution of the defendant for numerous sex offenses.”); DE 77 at

   2 (describing Non-Prosecution Agreement as “an agreement that blocked federal prosecution of

   Epstein for the multitude of sex offenses he committed again [sic] the victims”), 17 (“The [Non-




       9
           The USAO-SDFL has no present knowledge about whether the United States Attorney’s
   Offices in those districts have opened any investigations into the allegations that have been made
   against Epstein, whether those offices are even aware of those allegations or the evidence
   supporting them, or what investigative or prosecutorial actions, if any, those offices might take in
   the future. Nonetheless, should any investigation be underway or should any investigation be
   initiated involving such allegations, the evidence gathered                         in the Southern
   District of Florida could be disclosed to federal prosecutors and federal grand juries in New York
   or New Jersey. See

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   Prosecution Agreement] barred prosecution of the federal sexual offenses that Epstein had

   committed against Jane Doe #1 and Jane Doe #2 . . . .”).10 That is simply not so.

            Contrary to Petitioners’ contentions, there has been no disposition by the government of

   any federal criminal charges against Epstein. No federal charges involving Petitioners have ever

   been brought against Epstein, and no such federal charges have been resolved. The Non-

   Prosecution Agreement about which Petitioners complain disposes of no federal criminal

   charges against Epstein, and that agreement does not bar the United States from bringing federal

   criminal charges against Epstein. Instead, when addressing potential federal criminal charges

   against Epstein, the USAO-SDFL merely agreed in the Non-Prosecution Agreement that:

            on the authority of R. Alexander Acosta, United States Attorney for the Southern
            District of Florida, prosecution in this District for these offenses shall be deferred
            in favor of prosecution by the State of Florida, provided that Epstein abides by the
            following conditions and the requirements of this Agreement set forth below.

   and that

            After timely fulfilling all the terms and conditions of the Agreement, no
            prosecution for the offenses set out on pages 1 and 2 of this Agreement, nor any
            other offenses that have been the subject of the joint investigation by the Federal
            Bureau of Investigation and the United States Attorney’s Office, nor any offenses
            that arose from the Federal Grand Jury investigation will be instituted in this
            District, and the charges against Epstein if any, will be dismissed.

   Non-Prosecution Agreement at 2 (emphasis added).

            Thus, the Non-Prosecution Agreement simply obligated the government not to prosecute

   Epstein in the Southern District of Florida for the offenses set forth in the Non-Prosecution


       10
           This Court has also previously described the Non-Prosecution Agreement as “an
   agreement under which . . . the U.S. Attorney’s Office would agree not to prosecute Epstein for
   federal offenses.” DE 99 at 2-3. That description of the Non-Prosecution Agreement, however,
   was not based on the Court’s interpretation of the terms of the Non-Prosecution Agreement, but
   was instead based on “allegations” by Petitioners that the Court concluded were “not yet
   supported by evidence” but upon which the Court nonetheless relied “solely to provide the
   context for the threshold issues addressed in” its September 26, 2011 Order. Id. at 2 n.2.

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   Agreement. The Non-Prosecution Agreement does not bar the United States from bringing

   federal criminal charges against Epstein for the offenses set forth in the Non-Prosecution

   Agreement in any other district in the nation.11 See, e.g., United States v. Cain, 587 F.2d 678,

   680 (5th Cir. 1979) (“Where . . . the prosecutor is not found to have made promises relating to

   nonprosecution of charges in another district and the [defendant] is not found to have relied on

   such alleged promises, this Court will affirm the trial court’s denial of a motion to dismiss the

   subsequent prosecutions.”). Neither does the Non-Prosecution Agreement bar prosecution in any

   district for offenses not identified in the agreement.

            Petitioners contend that the CVRA gives a victim the right to confer with the attorney for

   the government before there is a disposition of contemplated, but-not-yet-filed federal criminal

   charges arising from offenses against the victim. But, although the government disputes that the

   CVRA creates such a right,12 the Petitioners have never been denied any such right. The

   Petitioners have had and still have the ability confer to with the attorney for the government

   about potential federal criminal charges against Epstein and about the potential disposition of

   any such charges, should they be filed. In fact, Petitioners are free to approach the United States

   Attorney’s Offices in districts such as the Southern District of New York and the District of New

   Jersey – whose authority to institute criminal charges against Epstein in their districts has not
       11
            Significantly, under the governing provision of the United States Attorney’s Manual, the
   USAO-SDFL did not have the authority to unilaterally bar Epstein’s prosecution in any other
   district in the country:
            No district or division shall make any agreement, including any agreement not to
            prosecute, which purports to bind any other district(s) or division without the
            express written approval of the United States Attorney(s) in each affected district
            and/or the Assistant Attorney General of the Criminal Division.
   USAM 9-27.641 (Multi-District (Global) Agreement Requests).
       12
           The government acknowledges that this Court has nonetheless ruled that “as a matter of
   law the CVRA can apply before formal charges are filed,” DE 99 at 10; see also id. at 6-9, but
   has not yet determined “whether the particular rights asserted here attached,” id. at 10.

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   been curtailed by the Non-Prosecution Agreement – to discuss the possibility of pursuing federal

   criminal charges against Epstein.13 Nothing precludes Petitioners from doing so, and there is

   nothing to indicate that Petitioners’ wishes to confer with government attorneys in those districts

   would be rebuffed in any way. Indeed, it would be rank speculation by Petitioners to contend

   otherwise.

            Here, Petitioners have acknowledged that the best relief they can hope to obtain through

   these proceedings is the ability to confer with the attorneys for the government. See, e.g., July

   11, 2008 Hr’g Tr. at 7 (agreeing that “the best [Petitioners] can get” is the “right to confer”).

   Yet, under the circumstances, a claim that Petitioners have been denied the opportunity to confer

   with the attorney for the government about the filing and disposition of criminal charges against

   Epstein is premature and constitutionally unripe. “This is plainly the type of hypothetical case

   that [a court] should avoid deciding.” Association for Children for Enforcement of Support, Inc.

   v. Conger, 899 F.2d 1164, 1166 (11th Cir. 1990). Any speculation by Petitioners that they might

   prospectively be denied the opportunity to confer with the government about still-legally-viable

   federal charges against Epstein simply cannot ripen Petitioners’ claims. See id. (recognizing that

   courts “do not generally decide cases based on a party’s predicted conduct”).

            For these reasons, Petitioners’ claims in these proceedings should be dismissed for lack

   of subject matter jurisdiction. See, e.g., In re Jacks, 642 F.3d 1323, 1332 (11th Cir. 2011)

   (holding that claims that are “based on events that may take place in the future” are to be

   “dismissed for lack of jurisdiction”) (citing Greenbriar, Ltd. v. City of Alabaster, 881 F.2d 1570,

   1574 n.7 (11th Cir. 1989) (“[R]ipeness goes to whether the district court had subject matter

       13
           Petitioners could also approach the United States Attorney’s Office for the Middle
   District of Florida, but, due to that office’s recusal-based derivative prosecutorial responsibilities
   in the Southern District of Florida, see supra note 8, the Non-Prosecution Agreement would
   constrain the possible filing of federal charges by that office in the Southern District of Florida.

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   jurisdiction to hear the case.”)); Reahard v. Lee County, 30 F.3d 1412, 1415 (11th Cir. 1994)

   (“The question of ripeness ‘goes to whether the district court had subject matter jurisdiction.’”)

   (quoting Greenbriar, 881 F.2d at 1573); see also Jacksonville Property Rights Ass’n, Inc. v. City

   of Jacksonville, 635 F.3d 1266, 1276 (11th Cir. 2011) (concluding that when plaintiffs ask a

   court “to issue a declaration on an issue that might never impact their substantive rights,” they

   are “asking th[e] court either to issue an impermissible advisory opinion, or to decide a case that

   is not yet ripe for decision”), reh’g & reh’g en banc denied, Case No. 09-15629, __ Fed. App’x

   __ (11th Cir. Jun. 29, 2011) (Table).

                                              Conclusion

           For the reasons set forth above, the United States respectfully requests that this Court

   enter an order dismissing the Petitioners’ claims and these proceedings for lack of subject matter

   jurisdiction.




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